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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  SPD GROUP, INC, d/b/a J.R. DUNN
  JEWELERS, a Florida for-profit
  corporation,

        Defendant.
  ______________________________________/

                                            COMPLAINT


         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant SPD

  GROUP, INC, d/b/a J.R. DUNN JEWELERS, a Florida for-profit corporation, and alleges as

  follows:


         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This also is an action for declaratory and injunctive relief, damages, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Section 504 of the

  Rehabilitation Act of 1973, 29 U.S.C. §794, et seq. (“Rehab Act”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.



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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”). Plaintiff also is expressly authorized to bring this case as an otherwise

  qualified individual with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f the Rehab Act which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  Because of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and has limited use of his left hand. Further, because of his disease, Plaintiff has

  developed optic neuritis and is visually disabled, with complete blindness in one eye and limited

  vision in the other eye. Plaintiff thus is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  in 42 U.S.C. §3602(h). Plaintiff also is an otherwise qualified individual with a disability who has

  been denied the benefits of a program or activity receiving federal financial assistance and is thus

  covered by the Rehab Act, 29 U.S.C. §794(a) and (b). Plaintiff further is an advocate of the rights

  of similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation and/or the



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  recipients of federal financial assistance and/or their respective and associated websites are in

  compliance with the ADA, the Rehab Act, and any other applicable disability laws, regulations,

  and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent. At

  a rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory—rather than visual—cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a jewelry store located

  at 4210 North Federal Highway, Lighthouse Point, Florida that Plaintiff had patronized and/or

  intended to patronize in the near future. Defendant also owns, leases, leases to, and/or operates a

  business in South Florida that is the recipient of federal financial assistance for the company as a




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  whole within the meaning of the Rehab Act, 29 U.S.C§794(b)(3)(A)(i). See Exhibit “A” attached

  hereto.

            8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

            9.    Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

            10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a jewelry store under the name “J.R. Dunn Jewelers.” The J.R. Dunn

  Jewelers store is open to the public. As the owner, operator, and/or controller of this retail store,

  Defendant is defined as a place of “public accommodation” within meaning of Title III because

  Defendant is a private entity which owns and/or operates “[A] bakery, grocery store, clothing store,

  hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).

            11.   Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA and its implementing

  regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

            12.   Defendant also controls, maintains, and/or operates an adjunct website,

  https://jrdunn.com (the “Website”). One of the functions of the Website is to provide the public

  information on the location of Defendant’s store that sells Defendant’s merchandise within the

  State of Florida. Defendant also sells to the public its merchandise through the Website, which



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  acts as a critical point of sale for Defendant’s merchandise that is also available for purchase from

  and in Defendant’s physical store. Furthermore, the Website allows the purchasers the ability to

  secure financing for making purchases from the physical store and gives purchasers the option to

  pick-up and return merchandise purchased online its physical location..

           13.   The Website also services Defendant’s physical store by providing information on

  its available merchandise, services, financing, tips and advice, editorials, sales campaigns, events,

  and other information that Defendant is interested in communicating to its customers.

           14.   Because the Website allows the public the ability to secure information about

  Defendant’s physical store, purchase merchandise also available for purchase from and in the

  physical store, arrange online financing for purchases made online and from the physical store,

  arrange for in-store pick-ups and returns of merchandise purchased online, and sign up for an

  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  online and in the physical store, the Website is an extension of, and gateway to, the same goods,

  services, privileges, and advantages as are available in and from Defendant’s physical store, which

  is a place of public accommodation under the ADA. As an extension of and necessary service,

  privilege, and advantage provided by a place of public accommodation as defined under the ADA,

  the Website is an extension of the services, privileges, and advantages made available to the

  general public by Defendant at and through its brick-and-mortar location and business.

  Furthermore, the Website is a necessary service and privilege of Defendant’s physical store in that,

  as a point of sale and financing for Defendant’s store, it enables users of the Website to make

  purchases of Defendant’s merchandise that is also available for purchase in and from its physical

  store.




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         15.     Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale from and in Defendant’s physical store, thus having the

  Website act as a point of sale for Defendant’s merchandise sold in the physical store, apply for

  online financing to purchase merchandise available in in the physical store, arrange in-store pick-

  ups and returns of merchandise purchased online, and sign up for an electronic emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical store,

  the Website is an extension of, and gateway to the physical store, which is a place of public

  accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a

  necessary service, privilege, and advantage of Defendant’s brick and mortar store that must comply

  with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the same full and equal access to and enjoyment

  of the goods, services, privileges, and advantages afforded the non-visually disabled public both

  online and in the physical store.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet and is a point of sale and financing for merchandise sold at, in, and through Defendant’s

  physical store, the Website is a necessary services, privilege, and advantage, of Defendant’s brick

  and mortar store that must comply with all requirements of the ADA, must not discriminate against

  individuals with visual or physical disabilities, and must not deny those individuals the full and

  equal access to and enjoyment of the goods, services, privileges, and advantages afforded the non-

  visually disabled public both online and in the physical store.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,



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  Defendant’s physical store in Delray Beach, Florida, and to check store hours and merchandise

  pricing, apply for financing, purchase merchandise, arrange of in-store pickups of merchandise

  purchased online, and/or sign up for an electronic emailer to receive exclusive offers, benefits,

  invitations, and discounts for use at the Website or in Defendant’s physical store. In the alternative,

  Plaintiff intends to monitor the Website in the near future, as a tester, to ascertain whether it has

  been updated to interact properly with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, apply online for

  financing, arrange in-store pickups and returns of merchandise purchased online, and sign up for

  an electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  both online and in the physical store from his home are important and necessary accommodations

  for Plaintiff because traveling outside of his home as a physically and visually disabled individual

  is often a difficult, hazardous, frightening, frustrating, and confusing experience. Defendant has

  not provided its business information in any other digital format that is accessible for use by blind

  and visually impaired individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits, and to compare merchandise, services, prices, sales, discounts, and promotions.

  Plaintiff may look at several dozens of sites to compare product features, services, discounts,

  promotions, and prices.

         20.     During the month September 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise, services, and online offers to plan his store

  visits, to educate himself as to the merchandise, services, sales, discounts, and promotions being

  offered, and to learn about the brick and mortar store, check store hours, and check merchandise

  pricing with the intention of making a purchase through the Website or at Defendant’s store.



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  Plaintiff also attempted to access and utilize the Website in his capacity as a tester to determine

  whether it was accessible to blind and visually disabled persons, such as himself, who use screen

  reader software to access and navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent its free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:


                 a. Phone number at the top of the website lacks proper description;

                 b. Return to home page/company logo button is mislabeled;

                 c. Designer submenu is inaccessible when navigating with a keyboard;

                 d. Menu categories Jewelry, Watches, Rolex, Diamonds & Engagement,
                    Wedding Rings, Sale, and More are all inaccessible when navigating with a
                    keyboard;

                 e. Product description is not labeled; and

                    f. Product details are mislabeled as tab panel.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.


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         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, services, and promotions, as provided on the Website

  and at the physical store to the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website as a

  necessary extension, service, privilege, and advantage of the physical store, but he is presently

  unable to fully do so, as he is unable to effectively communicate with Defendant’s physical store

  due to his severe visual disability and the Website’s access barriers. Alternatively, as a tester using

  scree reader software, Plaintiff is unable to effectively access, navigate, and communicate with

  Defendants through the Website due to his severe blindness and visual disability and the Website’s

  access barriers. Thus, Plaintiff, and others who are blind and visually disabled, will suffer

  continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and practices

  as set forth herein unless properly enjoined by this Court.

         26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail store for its goods, services, operation, and use, and thus is a necessary

  extension, service, privilege, advantage, and accommodation of Defendant’s brick and mortar store

  for the purchase of Defendant’s merchandise, the Website must comply with all requirements of

  the ADA, must not discriminate against individuals with disabilities, and must not deny those

  individuals the same full and equal access to and enjoyment of the goods, services, privileges, and

  advantages as afforded the non-visually disabled public both online and in the physical store,

  which is a place of public accommodation subject to the requirements of the ADA. In addition,

  because Defendant is a recipient of federal funds to the company as a whole, Defendant is also



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   subject to the requirements of the Rehab Act and must not discriminate against qualified or

   otherwise qualified individuals with disabilities in any and all of its “programs and activities”,

   including the Website.

           27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

   to ensure full and equal use of the Website by individuals with disabilities.

           28.     On information and belief, Defendant has not instituted a Web Accessibility

   Committee to ensure full and equal use of Website by individuals with disabilities.

           29.     On information and belief, Defendant has not designated an employee as a Web

   Accessibility Coordinator to ensure full and equal use of the Website by individuals with

   disabilities.

           30.     On information and belief, Defendant has not instituted a Web Accessibility User

   Accessibility Testing Group to ensure full and equal use of the Website by individuals with

   disabilities.

           31.     On information and belief, Defendant has not instituted a User Accessibility

   Testing Group to ensure full and equal use of the Website by individuals with disabilities.

           32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

           33.     On information and belief, Defendant has not instituted an Automated Web

   Accessibility Testing program.

           34.     Defendant has not created and instituted a Specialized Customer Assistance line or

   service or email contact mode for customer assistance for the blind and visually disabled.

           35.     Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal




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   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled or blind community.

           36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

           37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to blind and visually disabled individuals who want

   the safety and privacy of purchasing Defendant’s merchandise and scheduling for shopping

   services offered on the Website from their homes.

           38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, accommodations, programs, and activities

   provided by and through the Website in contravention of the ADA and the Rehab Act.

           39.     Public accommodations under the ADA must ensure that their places of public

   accommodation provide effective communication for all members of the general public, including

   individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act, public

   accommodations and companies that receive federal financial assistance as a whole must not

   discriminate against disabled persons and are required to make all the facilities, programs, or

   activities they operate, including their websites, fully and readily accessible to persons with

   disabilities.

           40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites, such as the Website at issue in the instant

   action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

   all programs, projects and activities receiving federal assistance " ... be carried out in a manner



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   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3).

          41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals who are blind and visually disabled

   from the means to access and comprehend information presented therein.

          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.




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          49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA because it owns, operates, and/or controls a physical retail store and the connected

   Website.

          50.      Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s store,

   purchase merchandise that is also available for purchase in and from the physical stores, arrange

   online financing to make purchases of merchandise available in the physicals tore, arrange of in-

   store pickups and returns of merchandise purchased online, and sign up for an electronic emailer

   to receive exclusive online offers, benefits, invitations, and discounts for use both online and in

   the physical store. The Website thus is an extension of, gateway to, and necessary service,

   privilege, and advantage of Defendant’s physical store that Plaintiff intended to patronize. Further,

   the Website also serves to augment Defendant’s physical store by providing the public information

   on the location of the store and by educating the public as to Defendant’s available products sold

   and services offered through the Website and in its physical store. The Website thus is necessary

   for Plaintiff to fully and equally enjoy and have access to all of the goods, services, privileges, and

   advantages being offered by Defendant both online and in its physical store.

          51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,



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   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          54.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          55.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal access to and enjoyment of the goods, information, and services that

   Defendant has made available to the public on its Website and in its physical store in violation of

   42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          56.     The Website was subsequently visited by Plaintiff’s expert in September 2021, and

   the expert determination was that the same access barriers that Plaintiff had initially encountered,

   as well as numerous additional access barriers, existed. Defendant thus has made insufficient

   material changes or improvements to the Website to enable its full use, enjoyment, and

   accessibility for blind and visually disabled persons such as Plaintiff. Defendant also has not

   disclosed to the public any intended audits, changes, or lawsuits to correct the inaccessibility of

   the Website to visually disabled individuals, nor has it posted on the Website a conspicuous and



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   effective “accessibility” notice, statement, or policy to provide blind and visually disabled person

   such as Plaintiff with a viable alternative means to access and navigate the Website. Defendant

   thus has failed to make reasonable modifications in its policies, practices, or procedures when such

   modifications are necessary to afford goods, services, facilities, privileges, advantages, or

   accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

   functional, viable and effective “accessibility” notice, policy, or statement and the numerous

   access barriers as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached

   hereto as Composite Exhibit “B” and the contents of which are incorporated herein by reference,

   continue to render the Website not fully accessible to users who are blind and visually disabled,

   including Plaintiff.

           57.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           58.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           59.     There are readily available, well-established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.




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          60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website, and hence its connected physical stores, by individuals such as Plaintiff with

   visual disabilities who require the assistance of interface with screen reader software to

   comprehend and access internet websites. These violations within the Website are ongoing.

          61.     The ADA require that public accommodations and places of public accommodation

   ensure that communication is effective.

          612.    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          65.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.




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          66.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is an extension, service, privilege, and advantage of, and critical and

   necessary point of sale and financing for, Defendant’s brick and mortar store, Plaintiff has suffered

   an injury in fact by being denied communication with and full access to and enjoyment of the

   goods, services, privileges, and advantages of Defendant’s physical store.

          67.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with visual disabilities have full and equal access to and

   enjoyment of the goods, services, facilities, privileges, advantages, and accommodations offered

   in Defendant’s physical store through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical store and becoming informed of and purchasing



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   Defendant’s merchandise online and from the physical store, and during that time period prior to

   the Website’s being designed to permit individuals with visual disabilities to effectively

   communicate, to provide an alternative method for individuals with visual disabilities to

   effectively communicate for such goods and services made available to the general public through

   the Website and the physical store.

          69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has retained the undersigned counsel for the filing and

   prosecution of this action and has agreed to pay them a reasonable fee for their services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that

                individuals with visual disabilities can access, and continue to access, the Website and

                effectively communicate with the Website to the full extent required by Title III of the

                ADA;

          C. An Order requiring Defendant, by a date certain, to clearly display the universal

                disabled logo within the Website, wherein the logo1 would lead to a page which would

                state Defendant’s accessibility information, facts, policies, and accommodations. Such

                a clear display of the disabled logo is to ensure that individuals who are disabled are

                aware of the availability of the accessible features of the Website;




   1
                        or similar.
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        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;



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             J. An Order directing Defendant, by a date certain, to make publicly available and directly

                   link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                   ensure the persons with disabilities have full and equal enjoyment of the Website and

                   shall accompany the public policy statement with an accessible means of submitting

                   accessibility questions and problems;

             K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

             L. Such other and further relief as the Court deems just and equitable.

                      COUNT II – VIOLATION OF THE REHABILITATION ACT

             70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

   herein.

             71.      As more specifically set forth above, Defendant has violated the Rehab Act by

   failing to interface the Website with software utilized by visually impaired individuals. Thus,

   Defendant has violated the Rehab Act either directly or through contractual, licensing or other

   arrangements with respect to Plaintiff and other similarly situated individuals solely by reason of

   their disability, based on the following:

             a)       By excluding Plaintiff from participation in and denying him the benefits of or

   subjecting him to discrimination under any program or activity receiving federal financial

   assistance, Defendant has violated the Rehab Act;

             b)       Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects, and activities receiving federal assistance " ... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. Section 701 (c)(3);




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           c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

   the Rehab Act which prohibits discrimination against qualified or otherwise qualified individuals

   in all of the recipient's "programs or activities";

           d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

   discriminating against disabled persons and requires that facilities, programs, or activities operated

   by a federally funded entity be readily accessible to persons with disabilities;

           e)      The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship which receives

   federal financial assistance as a whole. Defendant's Website and its content is a "program or

   activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);

           f)      Plaintiff was denied access to Defendant's Website solely by reason of his

   disability. This denial of access to Defendant's "program or activity" subjected Plaintiff to

   discrimination, excluded Plaintiff from participation in the program or activity, and denied

   Plaintiff the benefits of the Website, a service available to those persons who are not blind. As of

   this filing, the Website remains inaccessible to qualified or otherwise qualified persons;

           g)      The international website standards organization, WC3, has published widely

   accepted guidelines ("WCAG 2.0” and “WCAG 2.1 AA") for making digital content accessible to

   individuals with disabilities. These guidelines have been endorsed the United States Department

   of Justice and by Federal Courts and the United States Access Board; and,

           h)      Defendant has engaged in unlawful practices in violation of the Rehab Act since it

   launched the Website. These practices include, but are not limited to, denying Plaintiff, an

   individual with a disability who, with or without reasonable modifications to the rules, policies, or

   practices, the removal of communication barriers, or the provision of auxiliary aids and services,



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   meets the essential eligibility requirements for the receipt of services to participate in programs or

   activities provided by Defendant.

          72.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant was and is fully aware

   of the inaccessible features of its Website and has failed to remediate the Website to make it

   equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

   protected right was substantially likely, yet and it failed to act on that likelihood when it failed to

   remediate its Website. Defendant knew this, and on information and belief, a person with authority

   with Defendant to order the remediation of the Website made a deliberate choice not to remediate

   and to continue to offer the inaccessible Website to its customers and potential customers knowing

   that the Website was, and continues to be, inaccessible to the blind and visually disabled.

          73.     Plaintiff would like to be a customer at Defendant's brick and mortar store but

   before he goes to Defendant’s store, he would like to determine what is available for his

   purchasing, what promotions are being offered, what services are being offered, and what new

   items are currently available. In that regard, Plaintiff continues to attempt to utilize the Website

   and/or plans to continue to attempt to utilize the Website on a regular basis to make selections for

   purchasing and setting appointment for shopping services online or in the stores.

          74.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

   that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

   unless he is willing to suffer additional discrimination.

          75.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

   result of the discriminatory conditions present at Defendant's Website. By continuing to operate

   the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation



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   and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of -Defendant's

   programs and activities available to the general public. By encountering the discriminatory

   conditions at the Website, and knowing that it would be a futile gesture to attempt to utilize the

   Website unless he is willing to endure additional discrimination, Plaintiff is deprived of the

   meaningful choice of freely visiting and utilizing the same store or Website readily available to

   the general public and is deterred and discouraged from doing so. By maintaining a website with

   access and Rehab Act violations, Defendant deprives Plaintiff the equal access to, and same

   participation in and benefits of its programs and activities as the non-visually disabled public.

          76.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's discrimination until the Defendant is compelled to comply with the requirements

   of the Rehab Act.

          77.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

   above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

   discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the

   Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

   compliance with the Rehab Act so that he and others similarly situated will have full and equal

   enjoyment of the Website without fear of discrimination.

          78.     The Plaintiff and all others similarly situated will continue to suffer such

   discrimination, injury, and damage without the immediate relief provided by the Rehab Act as

   requested herein.

          79.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.



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           80.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

   fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §

   794a.

           WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

           A.      A declaration that determines that Defendant's Website at the commencement of

   the subject lawsuit is in violation of the Rehabilitation Act;

           B.      A declaration that Defendant's Website continues to be in violation of the

   Rehabilitation Act;

           C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

   monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

   with visual disabilities;

           D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

   to, and useable by, individuals with visual disabilities to the full extent required by the

   Rehabilitation Act;

           E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

   procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

   undertake and complete corrective and remedial procedures;

           F.      Issuance of an Order directing Defendant to continually update and maintain its

   Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

           G.      An award to Plaintiff of his compensatory damages for Defendant’s willful and

   deliberately indifferent violations of the Rehab Act;




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          H.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

   U.S.C. §794a; and

          I.      Award such other relief as the Court deems just and proper, and/or is allowable

   under the Rehabilitation Act.



          DATED: November 30, 2021

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